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 7                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 8                                          AT SEATTLE
 9    UNITED STATES OF AMERICA,
10                   Plaintiff,
11                                                              Case No. CR05-152L
             v.
12
                                                                ORDER DENYING MOTION FOR
      DUNG VIET DINH,                                           BILL OF PARTICULARS
13
                     Defendant.
14

15          This matter comes before the Court on “Defendant Dinh’s Motion for a Bill of Particlars [sic] as

16   to Count 1” (Dkt. # 96). Dinh request that the government provide the defense with a bill of particulars

17   explaining the legal theory supporting the government’s case against Dinh for the first count of the

18   indictment. In reply, the government offers “to meet for a discovery conference with Dinh’s attorney

19   upon request.” Response at 2 (Dkt. # 107). In light of this offer, IT IS HEREBY ORDERED that

20   Dinh’s motion is DENIED. If this further discovery conference does not provide sufficient details, Dinh’s

21   attorney may re-note this motion.

22          DATED this 26th day of October, 2005.

23

24                                                        A
                                                          Robert S. Lasnik
25                                                        United States District Judge
26

27    ORDER DENYING MOTION FOR
      BILL OF PARTICULARS                                 1
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